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IN THE UNITED sTATEs DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEch » 1 , h

 

 

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UNITED sTATEs oF AMERICA, jj ,z;,a< _1_“3 ,;;
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Plaintiff,
"- No. 03-20104 B
oMAR ABDI JAMAL,

Defendant.

 

ORDER DENYING DEFENDANT'S MOTION OF ACQUITTAL AND FOR NEW TRIAL,
DENYING DEFENDANT'S SECOND MOTION FOR A NEW TRIAL, DENYING
DEFENDANT'S MOTION FOR ORAL ARGUMENT ON POST-TRIAL MOTIONS
AND GRANTING DEFENDANT'S MOTION TO FILE REPLY BRIEF

 

On March 25, 2003, a six-count indictment was entered against the Defendant, Omar Abdi
Jamal, charging him with making false statements on immigration documents in violation of 18
U.S.C. §§ 1001 and 1546(a). The statutes impose criminal penalties upon an individual who

knowingly and Wi]lfully falsifies, conceals or covers up by any trick, scheme, or

device a material fact; makes any materially false, fictitious or fraudulent statement

or representation; or makes or uses any false writing or document knowing the same

to contain any materially false, fictitious or fraudulent statement or entry . . . [and]

knowingly makes under oath, . . . knowingly subscribes as true, any false statement

with respect to a material fact in any application, affidavit, or other document

required by the immigration laws or regulations prescribed thereunder, or knowingly

presents any such application, affidavit, Or other document Which contains any such

false statement or which fails to contain any reasonable basis in law or fact . . .
On January 7, 2005, the jury empaneled in this matter rendered a verdict of guilty on Counts l
through 5.l Jarrial filed his motion for judgment of acquittal pursuant to Rule 29 of the F ederal Rules

of Criminal Procedure or, in the altemative, for a new trial under Fed. R. Crim. P. 33 on January 19,

 

lCount 6 was dismissed prior to trial.

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2005. On January 20, 2005, the Defendant filed a second Rule 33 motion for a new trial. These
motions, along with the Govemment‘s responses thereto, are currently before the Court. Prior to
reaching the merits, however, the Defendant's motion for oral argument on his post-trial motions is
DENlED, as the issues have been fully briefed. Jamal's motion to file a reply brief is GRANTED,
as the reply has been docketed and will be considered herein. The Defendant's motion for leave to
complete the record is also GRANTED.

The primary focus of the Defendant‘s Rule 29 and 33 motions is directed to the evidence
presented at trial, which he claims was insufficient to establish violations of §§ 1001 and 1546(a)_
In deciding a Rule 29 motion based on insufficient evidence, the relevant question is "whether after
reviewing the evidence in the light most favorable to the prosecution, any rational trier of fact could
have found the essential elements of the crime beyond a reasonable doubt." United States v. Caseer,
399 F.3d 828, 840 (6th Cir. 2005) (quoting United States v. Bashaw. 982 F.2d 168, 171 (6th Cir.
l 992)). "The government must be given the benefit of all inferences which can reasonably be drawn
from the evidence, even if the evidence is circumstantial. It is not necessary that the evidence
exclude every reasonable hypothesis except that of guilt." United States v. Carter, 355 F.3d 920, 925
(6th Cir. 2004) (quoting United States v. Head, 927 F.2d 1361, 1365 (6th Cir. 1991)). The Court
cannot "weigh the evidence, consider the credibility of witnesses or substitute [its] judgment for that
ofthejury." United States v. Meyer, 359 F.3d 820, 826 (6th Cir.), §€_r‘f_. M, _ U.S. _, 125
S.Ct. 112, 160 L.Ed.2d 182 (U.S. Oct. 4, 2004) (No. 04-5573).

Unlike Rule 29, Fed. R. Crim. P. 33 permits the trial judge to consider the credibility of
witnesses and to weigh the evidence to insure there is no miscarriage of justice United States v.

Solorio, 337 F.3d 580, 589 n.6 (6th Cir.), cert. denied, 540 U.S. 1063, 124 S.Ct. 850, 157 L.Ed.2d

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723 (2003). A defendant's burden on a Rule 33 motion for a new trial is a heavy one. United States
LM, 282 F.3d 902, 906 (6th Cir. 2002). While the granting of a motion for a new trial is
discretionary, such discretion should be used only in "extraordinary circumstances where the
evidence preponderates heavily against the verdict." United States v. Damrah, 334 F.Supp.2d 967,
983 (N.D. Ohio 2004). ln issuing its ruling, the Court must keep in mind the provisions of Fed. R.
Crim. P. 52, which instructs that "[a]ny error, defect, irregularity, or variance that does not affect
substantial rights must be disregarded.“ Fed. R. Crim. P. 52(a).

ln order to establish a violation of § 1001 , the Govemment must "demonstrate that: (1) the
defendant made a statement; (2) the statement is false or fraudulent; (3) the statement is material;
(4) the defendant made the statement knowingly and wilfully; and (5) the statement pertained to an
activity within the jurisdiction of a federal agency." w United States v. Logan, 250 F.3d 350, 361
(6th Cir.), ce_rt.M, 534 U.S. 895, 122 S.Ct. 216, 151 L.Ed.2d 154 (2001). A conviction under
§ 1546(a) requires a showing by the Government that (1) the defendant made or presented a false
statement; (2) the false statement was knowingly made; (3) the statement was material to the
decisions of the Immigration and Naturalization Service (the "INS"); (4) the statement was made
under oath; and (5) the statement was included in an application or other document required by
immigration law or regulation United States v. O'Connor, 158 F.Supp.2d 697, 720 (E.D. Va. 2001).

According to the testimony adduced at trial, Jamal arrived at a Toronto, Canada airport in
November 1989 and applied with Canadian immigration authorities for refugee status. On
November 28, 1989, he was found temporarily eligible for such status. Jamal was permitted to live
and work in Canada in restricted employmentl

Subsequently, the Defendant received notification of the refugee claim hearing scheduled to

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determine his continued eligibility for refugee status. Pursuant to Canadian law, Jamal completed
a form entitled "Personal Infonnation Forrn for People Claiming Convention Refugee Status," which
became a part of his immigration file. In the document, the Defendant listed his national ethnic
group as "Somali, Majertan" and stated that he was born on February 1, 1969; had never been
married and had no children prior to leaving Somalia. He further indicated that he had used a
Kenyan passport to travel to Canada but that the passport had been destroyed. Prior to the refugee
hearing, Jamal also prepared a claim summary, which became part of his file as well, with the
assistance of a Canadian lawyer and a Canadian Immigration Court Somali language certified
interpreter. The summary, signed by the Defendant under oath, related as follows:

lam a citizen of Somalia, and a member of the Majertan tribe. My father, a former
captain of the Somali military, became involved in ami-government activities,
because of the way our clau was treated by the government In 1978, he participated
in a coup to topple the Barre regime, however this coup proved unsuccessful. After
the failed coup, he remained with us in Mogadishu, but as the government pressure
increased, he felt he had no alternative but to flee to Ethiopia, which he did in 1981.
Also at this time, there was increased violence between the government and members
of my clan. He went to Ethiopia and joined the SSDF, and he has never returned to
Somalia. My last understanding, was that he was living in the Ogaden region in a
place called Galadi, west of the Somali city of Galcaio, which is a large center of
Majertan tribes people and is my father's original home.

He did not tell us where he went.

In April of 1987, Itraveled to Ethiopia to visit my father. When l returned at the end
of May 1987, l was arrested at my house. Apparently, the government had
informants in Ethiopia and they were advised of my Visit.

=i< * *

l knew 1 had to get out of Somalia, based on this visit, my father's exile in Ethiopia,
and my previous detention.

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1 was able to obtain a Kenyan passport on the black market and my uncle got an

airline ticket in Nairobi Kenya, for me to look like 1 was traveling for Nairobi to

Mogadiscu to Frankfort, West Germany and then to Toronto. lremoved the Nairobi,

Mogadiscu portion of the ticket, got the Kenya passport stamped to appear as though

I had exited Kenya and attempted to fly out. I was turned back by Somali

immigration, but the next day, a different officer . . . allowed me on the plane, and

l made my way to Canada.

Below Jamal's si gnature, the interpreter certified that “1 have translated the contents of these 4 pages
to the claimant from the English to the Somali languagel He has assured me that he fully
understands the contents of these pages as translated."

The Defendant Was also required to obtain a medical assessment prior to his hearing. The
physician who conducted the assessment interviewed Jamal in English and recalled in his history
notes that Jamal was a member of the Majertan tribe and that his father had fled to Ethiopia. The
Defendant proceeded to tell the same story to the doctor in English as that contained in the claim
summary translated from Somali.

Based on the documents and evaluation referenced above, as Well as additional information,
Jamal was granted Convention Refugee status in Canada. He was later awarded permanent resident
status on November 27, 1991, which conferred upon him all the rights and privileges of a Canadian
citizen except for the right to vote. Upon obtaining such status, Jamal's whereabouts ceased to be
monitored by Canadian authorities

On October 7, 1997, Jamal entered the United States from Toronto as a non-immigrant visitor
for pleasure with a required departure date of April 6, 1998. Although his intended city of visitation
at the time of entry was listed as Minneapolis, Minnesota, Jamal rennited with Bashir Jama, a fellow

Somalian he had known while both resided in Mogadishu. ln November 1997, Jamal moved into

Jama's apartment in Memphis, Tennessee, where he lived for the next year. J ama testified at trial

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that during that time he observed Jamal communicating with others in English and described his
housemate's English as better than his own. J ama also learned to recognize the Defendant's
handwriting

ln December 1997, Jamal enrolled at the University of Memphis as a non-degree student
ln January 1998, he took the Tennessee General Education Development ("GED") test in order to
obtain the equivalent of a Tennessee high school diploma. Although the test was known to be
difficult and was administered in English, Jamal passed on the first attempt The next day he applied
as a full-time undergraduate degree student at University of Memphis. All courses offered by the
University of Memphis, with the exception of foreign language classes, for which Jamal did not
enroll, were taught in English.

Five days prior to the expiration of his non-immigrant visa, the Defendant sought asylum in
the United States. On the asylum application, which J ama testified contained Jamal's handwriting,
the Defendant, under oath, stated that his date of birth Was February 1, 1973; his tribal group was
Midgan; he spoke fluent English; he had married While living in Somalia; and he had a male child
born in Somalia. With respect to his father, Jamal made the following statement: "My father
disappeared in 1987. l don't know if he is alive or not now. However, he was considered dead. lt
was in Mogadishu and he was taken by a special force and never returned." In addition, Jamal
claimed that he was "caught and arrested, because of my natural selection of my minority group l am
a member of." At trial, Jama, a member of the Maj ertan tribe, testified that there was a significant
difference between the Majertan, a majority tribe in Somalia, and the Midgan, a minority group.

On May 20, 1998, the United States asylum office notified Jamal that his immigration

interview was scheduled for June ll, 1998, He was instructed in the notice that, if he could not

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speak English fluently, he “must provide a competent interpreter.“ The Defendant appeared at the
hearing with J ama as his interpreter. J ama recalled at trial that he took an interpreter's oath and
certified that he could speak and understand English and Somali and that he would truthfully
translate the asylum officer's questions and Jamal's answers thereto.

According to the testimony of Suzette Uthman, the asylum officer, the Defendant told her
during the interview that he had entered the United States on October 20, 1997 at John F. Kennedy
Airport ("JFK") in New York; that he had presented an imposter Kenyan passport upon entry; that
he married his wife, a Somali citizen, in Mogadishu in 1990; that he had a son born in Somalia in
December 1992 who had since died; that his parents were members of the Midgan tribe; that he
never obtained asylum in any other country; and that he left Somalia and traveled to Kenya prior to
entry into the United States. When asked about his time in Kenya, Jamal reported that he did not
obtain permanent resident status there. According to Uthman, if Jamal had disclosed his Canadian
refugee and permanent resident status, which he did not, he would have been excluded from
consideration for asylum in the United States.

Further, the application for asylum completed by Jamal contained the following questions:

Do you or your Spouse or child(ren) now hold, or have you ever held, permanent

residence, or other permanent status or citizenship, in any country other than the one

from which you are now claiming asylum? (Yes or No)

Have you or your spouse or child(ren) otherwise ever filed for, been processed for,

or been granted or denied refugee status or asylum by any other country? (Yes or

No) lf YES, your answer should include an explanation of the decision and what

happened to any status conveyed as a result.

After leaving the country from which you are claiming asylum, did you or your

spouse or child(ren), who are now in the U.S., travel through or reside in any other

country before entering the U.S.‘? (Yes or No) If YES, your answer should, by
person, identify each country, the length of stay, status while there, the reasons for

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leaving, whether the person is entitled to return for residence purposes and, if the

person did not apply for refugee status or for asylum while there, why he or she did

not do so.

The Defendant answered each of these questions in the negative. lt is these negative answers which
form the basis for the indictment in this case. ln the instant motion, Jamal argues that the
Government has failed to prove its case on the grounds that (l) the questions posed to him Were
ambiguous; and (2) a reasonable interpretation of his responses reveals that they were factually
accurate or the result of confusion, misunderstanding mistake or other innocent state of mind.

“A prosecution for a false statement under § 1001 or under the perjury statutes cannot be
based on an ambiguous question where the response may be literally and factually correct." Q_ni;cgl
States v. Gatewood, 173 F.3d 983, 986 (6th Cir. 1999) (quoting United States v. Gahagan, 881 F.2d
1380, 1383 (6th Cir. 1989)) (emphasis in original). "When a line of questioning is so vague as to
be 'fundamentally ambiguous,' the answers associated with the questions posed may be insufficient

as a matter of law to support {a conviction]. United States v. Carey, 152 F.Supp.2d 415, 427
(S.D.N.Y. 2001) (quoting United States v. Lighte, 782 F.2d 367, 375 (2d Cir. 1986)). "A question
is fundamentally ambiguous when it is not a phrase with a meaning about which men of ordinary
intellect could agree, nor one which could be used with mutual understanding by a questioner and
answerer unless it were defined at the time it were sought or offered as testimony." l_d. (quoting
gg_h§, 782 F.2d at 375) (internal quotation marks omitted); g M United States v. Culliton, 328
F.3d 1074, 1078 (9th Cir. 2003), M; glen_ne_d, 540 U.S. llll, 124 S.Ct. 1087, 157 L.Ed.2d 900
(2004) (definition applied to prosecution under § 1001).

The fundamental ambiguity defense has limited applicability, however. "As the use of the

adverb 'fundamentally' makes clear, it is not enough for a question to be ambiguous because virtually

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any question may be deemed ambiguous if one employs an adequately sophisticated analysis."
M, 152 F.Supp.2d at 427. Where the defendant contends that his answer was literally truthful
and has offered a reasonable interpretation of an ambiguous question that would make his statement
factually correct, " [i]t is incumbent upon the Government to negative" that interpretation Gatewood,
173 F.3d at 988 (quoting Gahagan, 881 F.2d at 1383). The factfinder should consider extrinsic
evidence in order to determine how a defendant interpreted a question. _C__ar_ey, 152 F.Supp.2d at 428.

"]t is only in exceptional cases that a question is so ambiguous, fundamentally ambiguous,
such that no answer can be false as a matter of law. lf there is no fundamental ambiguity, the jury
resolves any ambiguities." United States v. Darnrah, No. 04-4216, 2005 WL 602593, at *8 (6th Cir.
Mar. 15, 2005) (citing United States v. DeZarn, 157 F.3d 1042, 1048 (6th Cir. 1998)). “A jury is
permitted to find the element of knowledge if it believes that the defendant had 'deliberately ignored
a high probability that the form contained material false information."' United States v. Williams,
No. 01-4209, 2003 WL 1795693, at *5 (6th Cir. Mar. 26, 2003) (quoting United States v. Amous,
122 F.3d 321, 323 (6th Cir. 1997)).

ln cases involving false statements, the finder of fact may and, indeed, should consider
contextual facts in determining whether a defendant had knowledge of the subject matter of the
questioning and the circumstances surrounding how he came to that knowledge M M, 157
F.3d at 1049 (in perjury prosecution, government must be permitted to present and jury to consider
evidence of contextual facts in determining guilt). While a conviction for making a false statement
cannot stand if the answer given is literally true, the literal truth of the statement is a question for the
jury to decide, taking into account "the context of the testimony as a whole." §By, 152 F.Supp.2d

at 423 -24.

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As to the first question, Jamal submits that the query is compound, forcing the possibility for
truthful yes AND no answers, and that there is no opportunity for explanation or for an indication
that the respondent does not understand what is being asked. l-Ie contends that his "no" response Was
correct as to a portion of the question; that is, be never held Canadian citizenship or citizenship in
any country other than Somalia. Jamal also suggests that there is no indication that he understood
his "convention refugee" and "landed immigrant" status in Canada to have any relationship to the
“permanent residence" or "perrnanent status" phrases used on the American application ln addition,
the Defendant avers that it would have been reasonable for him to assume that whatever status he
had in Canada was lost or could be lost if he left the country for a specific period of time, which he
claimed he did. This, he insists, coupled with the asylum officer's acknowledgment that she did not
know exactly what the Defendant meant by his answer or to which portion of the question the answer
referred, mandates a finding of insufficient evidence to convict

in connection with the second question, Jamal asserts again that it was ambiguous and that
his negative response was factually correct "with respect to portions of the question as he understood
it." He posits that, as he was either a 11convention refugee" or a "landed immigrant" in Canada and
that neither Canada nor Kenya had "asylum" status, his "no" answer was technically accurate
Conversely, he argues that he did not understand the difference between "convention refugee" or
"landed immigrant" and “asylum," based on the asylum officers failure to explain what was meant.
Moreover, Jamal points to evidence suggesting that when he arrived in Canada as a teenager, older
relatives assisted him in seeking legal status in that country. Therefore, while others may had sought

asylum on his behalf, he, by himself, did not, in fact, seek asylum in Canada.

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With respect to the last question, Jamal concedes that his negative response to the query on
whether he had passed through another country on his way to the United States contradicts his
statement in the same form that he had spent three years in Kenya, but argues that the inconsistency
was based on confusion rather than a "lie." He relies on the trial testimony of the asylum officer to
the effect that the inconsistent answers illustrated confusion in her opinion.

ln this case, it appears to the Court that the Defendant is arguing two opposites at once; that
is, that he was both sufficiently fluent in the English language to parse the questions to his advantage
based on hyper-technical differences in terms and, at the same time, completely unable to understand
the questions or the proceedings Jamal cannot have it both ways. First, the questions were clearly
not "so ambiguous, fundamentally ambiguous, such that no answer can be false as a matter of law."
Nor were the inquiries in the Court's view, compound Moreover, viewing the evidence in the light
most favorable to the Government, sufficient evidence existed to support the jury's finding that Jamal
did understand English based on the testimony of Jama', the documents in his immigration files
indicating that he participated in the process in English with no apparent difficulties; his statement
in the asylum application that he spoke fluent English; and his ability to pass the GED examination
and attend college classes taught in English. Furthermore, although the Defendant argues that
extrinsic evidence concerning his immigration to Canada and his life in the United States is
irrelevant to his understanding of the questions for which he has been prosecuted, the Court
disagrees Clearly, Jamal's previous experience with immigration proceedings particularly in
another English-speaking country, as well as his ability to function in the United States, are relevant
to his understanding of immigration procedures and the language

The Defendant's attempt to offer as additional evidence of the alleged lack of proof in this

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case the jury's "deadlock" on January 6, 2005 holds no sway with the Court. After more than three
days of trial, the jury had deliberated for some three hours in the afternoon when they sent a note to
the undersigned stating that they were not close to reaching a decision When questioned concerning
whether they believed further deliberation might result in a verdict, the jury responded that they
would like to continue the following day, complaining of a hot and uncomfortable jury room. The
jurors returned the next morning and issued their verdict after only a short time. There is simpiy
nothing to suggest that the length of the deliberation which in this Court's experience was not
unusually short, supports the conclusion that there was insufficient evidence to convict.

The remainder of the Defendant's motions for a new trial consist of a litany of complaints
none of which have merit. He asserts that the Court's granting of permission for the jury to be
released until the next day exposed jury members to media reports concerning the trial. However,
the Court instructed the jury to avoid the media and the Defendant has offered nothing beyond mere
conjecture that they did not comply with the Court's directive. The Defendant also takes issue with
the Court's statement that he would not be available in person to take a verdict on the following day
because of a long standing professional obligation The undersigned instructed the parties and the
jurors that he would be available by cell phone and that another district judge would be available
prior to the return of the presiding judge. Jamal complains that, in the absence of the undersigned,
there was no procedure for jury questions or raising a mistrial; however, neither occurred.2 He

further posits that there was no inquiry of the jurors upon their return the next day whether they had

 

2'l`his assumption by the Court is based upon the fact that neither party placed a cellular
phone call to the undersigned; nor did counsel or the jury address any motion, written or
otherwise, or question to the Court or to the district judge assigned to take the verdict in the
absence of the undersigned

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been influenced in any way, they received no instructions, and one juror arrived late. First, as the
jury had been fully instructed on the preceding day, it was unnecessary that they be instructed again
Second, the Defendant has failed to assert, much less demonstrate, that he was prejudiced by the
alleged tardiness of a juror, w Fed. R. Crim. P. 52(a), and, as noted previously, has only speculated
on the possibility of media influence While Defendant's counsel hints darkly that "[t]here is no
record of the circumstances that caused . . . the abrupt change in the 'deadlockr with 'strong divisions'
to a unanimous 'guilty on all counts' verdict within approximately 1/2 hour on Friday morning," he
has offered no evidence whatsoever to support this bald assertion Moreover, his suggestion that the
absence of the presiding judge on Friday had any bearing on the jury'S decision is specious to say the
least.

The Defendant's assertion that the Court "planned a shortened trial schedule for trial" which
impacted the conduct of the trial is also baseless The Court did not plan a short schedule and, in
fact, conducted a lengthy jury charge conference and permitted defense counsel time to present
whatever evidence he deemed necessary. At no time during the trial did defense counsel voice any
complaint about not being allowed sufficient time to present his case. The Defendant also avers in
his motion that the time for closing argument was somehow cut short However, the Court initially
denied defense counsei's request for an hour for such argument on the grounds that such a long
period of time was simply unnecessary Ultimately, the Court permitted 45 minutes for each side,
with which the Defendant agreed.

Jamal also avers that the Court erred in failing to require the Government to submit a bill of
particulars On March3 l , 2004, Magistrate Judge Diane Vescovo, pursuant to an order of reference,

issued an order denying a motion for a bill of particulars filed by the Defendant, finding that the

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indictment was sufficiently detailed to provide adequate notice of the charges against him, to
minimize surprise at trial and to provide a basis for a plea of double jeopardy in any subsequent
prosecution §§ Order Granting Pl.'s Mot. to Reconsider and Denying Def[.'s] Mot. for Biil of
Particulars at 4-6; s_e_e _a_lY United States v. Birmley, 529 F.2d 103, 108 (6th Cir. 1976) (the purposes
of a bill of particulars, which should be considered by the court in ruling on such a motion, are (l)
to ensure that the defendant understands the nature of the charges so that he can adequately prepare
for trial; (2) to avoid or minimize the danger of unfair surprise at trial; and (3) to enable the
defendant to plead double jeopardy in the event he is later charged with the same offense when the
indictment itself is too vague and indefinite for such purposes.) As the Defendant has acknowledged
in his motion, the determination of whether to grant a motion for bill of particulars filed pursuant
to Fed. R. Crim. P. 703 lies within the sound discretion of the trial court. §e__e_ United States v.
Per_kins, 994 F.2d l 184, 1190 (6th Cir.), UM, 510 U.S. 903, 114 S.Ct. 279, 126 L.Ed.2d 230
(1993). ln order to show that the trial court abused its discretion in denying such a motion, a
defendant must show “actual surprise at trial and prejudice to [his] substantial rights by the denial.”
United States v. Rey, 923 F.2d 1217, 1222 (6th Cir. 1991) (citations omitted). ln this case, the
Defendant has not identified any actual prejudice he has suffered as a result of the denial of his
request for a bill of particulars Accordingly, the Court will not grant a new trial on that basis w
United States v. Robinson. 390 F.3d 853, 867 (6th Cir. 2004), Lh'g en M dgi_e_d_ (Feb. 25, 2005)
(no abuse of discretion where defendant failed to specifically identify any actual prejudice).

The Defendant next avers that a new trial is warranted on the grounds that venue was
appropriate not in this district but in Minnesota, where he now lives, based on the “absence of

support for Somali witnesses“ and the financial hardship involved in traveling to this district Fed.

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R. Crim. P. 18 provides that "[u]nless a statute or these rules permit otherwise, the government must
prosecute an offense in a district where the offense was committed." Moreover, the Sixth
Amendment guarantees that “[i]n all criminal prosecutions, the accused shall enjoy the right to a
speedy and public trial, by an impartial jury of the State and district wherein the crime shall have
been committed." U.S. Const. amend. VI. The Sixth Circuit has stated that "[v}enue is . . .
appropriate only in the district where the conduct comprising the essential elements of the offense
occurred." United States v. Wood, 364 F.3d 704, 710 (6th Cir. 2004). In this case, the evidence
showed that the asylum application was completed and the interview conducted in the western
district of Tennessee and documentation filed in I-Iouston, Texas. No part of the crime for which
Jamal was convicted occurred in Minnesota. As venue in this district is therefore proper based upon
the requirements of the Constitution and the criminal rule governing venue, and as the Defendant
has made no allegation of prejudice, the motion for a new trial on the grounds of venue is denied.

Jamal also argues that venue was improper in this district because the § 1546 counts should
have been prosecuted in Houston, Texas where the application at issue was "presented." For the
reasons articulated therein, this Court, on May 28, 2005, denied Jamal's motion to dismiss based on
the same argument, finding that venue would have been appropriate in either this district or Houston.
The Defendant‘s post-trial motion to dismiss the indictment on the grounds that Houston was the
appropriate venue will be addressed in a separate order. In any case, as no prejudice has been
alleged, the Court will not grant a new trial on that basis

The Defendant's contention that the Court erred in failing to permit him to present evidence
of post-event actions tending to show an innocent state of mind also fails Specifically, the

Defendant argues that his "conduct, after completing the Asylum Application, included consciously

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and intentionally drawing attention to himself and putting himself in direct contact with the very
governmental agencies responsible for ferreting out immigration fraud, the Court prevented the
defense from introducing relevant evidence to show that Mr. Jamal was not conscious of mistakes,
errors or wrongdoing regarding his application" (Mem. in Supp. of Mot. for a New Trial Arising
from Cumulative Trial Error at ll.) ln support of his position, Jamal refers the Court to QM
States v. McCorkle, 51 l F.2d 477 (7th Cir. 1974), which he describes as a "similar setting" in which
the court erred in "foreclosing the defendant from offering 'subsequent conduct' and 'innocent
statements' to show an innocent state of mind." (l\/lem. in Supp. of Mot. for a New Trial Arising
from Cumulative Trial Error at 11-12.) The case is in fact of little assistance to the Defendant ln
McCorkle, the defendant appealed his conviction for willful failure to file tax returns on the grounds
that the trial court erred in limiting his cross-examination of the governments witnesses, two Internal
Revenue Service agents McCorkle, 511 F.2d at 478. The agents testified at trial as to statements
made by the defendant during conversations conducted by them prior to the indictment On cross-
examination the trial court denied defense counsel's request to question the agents with respect to
additional statements made by the defendant tending to show his lack of willfulness lc_l._ The
doctrine of “verbal completeness" argued by the defendant on appeal “prescribes that the defendant
may bring out on cross-examination that testimony which might qualify, explain, limit or contradict
the portion offered by the Government on direct examination." LJ. at 479. The Sixth Circuit
overruled the lower court, concluding that the proffered testimony was highly irrelevant to
"defendant's state of mind at the time the returns were due." I_d. On rehearing g M, the Sixth
Circuit found that, while the excluded testimony "might be probative of [the defendant's] general

state of mind, it does not explain or qualify" the state of mind necessary for a conviction United

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States v. McCorkle, 511 F.2d 482, 487 (7th Cir.), ge_rt.gl_eM, 423 U.S. 826, 96 S.Ct. 43, 46 L.Ed.2d
43 (1975).

In the matter at bar, the evidence sought to be admitted by the Defendant was hardly part of
the same utterance as testimony offered on direct examination as was the case in McCorkle, but
involved possible inferences regarding a guilty mind to be drawn from the fact that he regularly
appeared in public at various meetings and functions in his community Furthermore, there has been
no allegation that the proffered evidence would have “explained" or "qualified," except in the
broadest of terms, Jamal's general state of mind relative to his presence in the United States ln any
case, in its response to the motion, the Government notes that, contemporaneously with its April 16,
2004 motion to quash subpoenas issued by the Defendant, it submitted to the Court the affidavits of
proposed witnesses who stated that they had no knowledge of the facts of this case and did not know
Jamal during the period alleged in the indictment The Court entered an order granting the motion
on May 19, 2004. Moreover, the Government states that, at Jamal's request, it introduced at trial the
Defendant's entire immigration file, which included numerous newspaper articles regarding his post-
event character traits. Thus, as whatever relevant information that may have existed was before the
trier of fact, the Court finds no prejudice

The Defendant next takes issue with the evidence adduced at trial, supported by a document
designated as Trial Exhibit 29, that he possessed a Somali passport Although he argues that such
information was not relevant to the proceedings the Government appears to concur, noting in its
response to the motion that it has never adopted a position that Jamal had a Somali passport and that
the witness who testified about the passport for the first time in responding to cross-examination

stated that, based on her experience as a border officer, Jamal probably would have used a Somali

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passport to enter the United States On redirect, she acknowledged that she had no personal
knowledge of Jamal's possession of such a document Thus, a request for a new trial on this ground
is unsupportable ln addition, the Defendant avers that Trial Exhibit 29 was not made known to the
defense prior to trial. The Government advises the Court, however, that the document was provided
to the Defendant on June 27, 2003 pursuant to Fed. R. Crim. P. 16.

In addition, Jamal submits that the jury instructions were improper based upon the "complex,
compound questions" and the "jury deadlock" and upon the obligation of the jury to look at the
answers to the application questions as he contends he understood them. As the Court has found
herein that these arguments are without merit, there is no basis for a finding that the jury instructions
were inappropriate

The Defendant claims that a new trial is required because of newly discovered evidence,
discovered during trial, confirming that this prosecution arose as a result of his public objection to
the closing of Somali-owned wire services in Minnesota called "Hawallahs" following the September
1 1 attacks and calling into question the Government's statements during opening argument that this
case was not about “terrorism." The information he contends vitiated the testimony of Special
Agent Rick Petrie to the effect that the immigration investigation was precipitated by informants
He also avers that such evidence was in the possession of the Government and was not provided to
the defense. ln response, the Government submits that no evidence was adduced at trial to support
such a contention, and that the investigation began following the receipt of information that Jamal
was a Canadian citizen in the United States illegally. The Government reiterates its argument
referenced earlier herein that Jamal's entire immigration file, which included newspaper articles

concerning the incident and documentation of the information received by federal agencies was

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provided to the Defendant..

ln his reply, the Defendant offers documentary evidence signed by Petrie, which he assumes
may not have been in the Government's possession prior to trial,3 stating that "[t]his case originally
came to the attention of the INS in Minneapolis during a Hawalla investigation." While he attempts
to make much of this statement, the next sentence in the document belies its importance: "The
information indicated that [Jamal] was a Refugee in Canada prior to applying for asylum in the
United States" The remainder of the document--a customs service investigation report--goes on to
describe Jamal's Canadian status Another document in the immigration file, a letter from the iNS
to Canadian immigration authorities dated January 2002, requests assistance in an investigation
conducted by the INS, the Federal Bureau of lnvestigation and the United States Attorney‘s Office
of "a number of individuals seeking immigrant benefits in the United States [who] may have
received immigrant benefits in Canada and, therefore, may be subject to criminal prosecution.“ (Ex.
to Government's Supplemental Resp. to Mot. for a J. of Acquittal and for a New Trial.) Upon
review of the evidence, the Court is satisfied that the Government has provided the Defendant with
all the evidence it was required to produce and that the document proffered by the Defendant does
not establish that he was prejudiced

Also with respect to Mr. Petrie, the Defendant maintains that, during jury deliberations Petrie
told defense counsel outside the courtroom that, contrary to the position taken by the Government
it was his belief that Jamal actually was in Kenya in 1997. The Government adamantly denies this

assertion and Jamal has offered no evidence in support of his claim. Accordingly, the Court cannot

 

3Defense counsel claims he found the document after his return to Minnesota following
trial, while going through papers gathered from the defense table.

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grant a motion for new trial based on the information before it.

The Defendant's next assignment of error involves his decision not to call certain witnesses
including Lul Hussein, Sili Dirie, Abdikadir J ama and Phil Steger. According to the record, Jamal
never proffered these witnesses Thus, he cannot now complain that their failure to testify
constituted error by the Court. To the extent the Defendant lays blame for the failure to call these
witnesses on alleged errors of the Court, the undersigned's denial of those alleged errors herein
renders any such assertion here fruitless

For the foregoing reasons the motion of the Defendant for acquittal and the motions for a
new trial are DENIED.

IT rs so oRDERED rhis?£\day ofMay, 2005.

fda

. D NIEL BREEN
UN ED STATES DISTRICT IUDGE

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STATE DISTRICT COURT - wESTERN D"STRCT oFTNNEESSEE

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Honorable .l. Breen
US DISTRICT COURT

